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                      IN THE UNITED STATES BANKRUPCTY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

   IN RE:                                         §    Chapter 11
                                                  §
   KrisJenn Ranch, LLC,                           §    CASE NO. 20-50805 (RBK)
                                                  §
                  Debtor.                         §

         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that LANGLEY & BANACK, INC. has been retained as

  counsel for DMA Properties, Inc. and Frank Daniel Moore in the above-referenced proceeding,

  and that pursuant to Section 1109(b) of the United States Bankruptcy Code and Rule 2002 of the

  Bankruptcy Rules, the undersigned requests that all notices given or required to be served in this

  case be given to and served upon the following:

                                      NATALIE F. WILSON
                                    LANGLEY & BANACK INC.
                                      Trinity Plaza II, Suite 700
                                         745 East Mulberry
                                   San Antonio, Texas 78212-3166
                                     (210) 736-6600 Telephone
                                     (210) 735-6889 Telecopier
                                    nwilson@langleybanack.com

         PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the United

  States Bankruptcy Code, the foregoing request includes all notices and papers referred to in Rule

  2002 of the Bankruptcy Rules and also includes, without limitation, any plan of reorganization and

  objections thereto, notices of any orders, pleadings, motions, applications, complaints, demands,

  hearings, disclosure statements, answers, responses, memoranda or briefs in support of the

  foregoing and any other documents brought before the Court with respect to these proceedings,

  including but not limited to contested and non-contested matters, and adversary proceedings,

  whether or not Applicant is named as a party defendant in those particular matters or proceedings,

  whether formal or informal, whether written or oral and whether transmitted or conveyed
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  personally or by mail, delivery, telephone, e-mail, telegraph, telex or otherwise.

  Dated: August 5, 2020
                                                           Respectfully submitted,

                                                           LANGLEY & BANACK, INC.
                                                           745 E Mulberry Ave Suite 700
                                                           San Antonio, TX 78212
                                                           (210) 736-6600
                                                           (210) 735-6889 (fax)

                                                           /s/ Natalie F. Wilson
                                                           Natalie F. Wilson
                                                           State Bar No. 24076779
                                                           nwilson@langleybanack.com

                                                           COUNSEL FOR Defendants/Third Party
                                                           Plaintiffs DMA Properties, Inc. and Frank
                                                           Daniel Moore

                                        Certificate of Service

          I hereby certify that on August 5, 2020 a true and correct copy of the foregoing document
  was transmitted to each of the parties via the Court’s electronic transmission facilities and/or via
  electronic mail as noted below. For those parties not registered to receive electronic service, a true
  and correct copy of the foregoing document was served by United States Mail, first class, postage
  prepaid, at the address noted below.

   FOR THE DEBTOR                                     Shane P. Tobin
   Ronald J. Smeberg                                  Email: shane.p.tobin@usdoj.gov
   Email: ron@smeberg.com                             OFFICE OF THE U.S. TRUSTEE
   The Smeberg Law Firm, PLLC                         903 San Jacinto Blvd, Room 230
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   San Antonio, TX 78201-4926                         UNITED STATES TRUSTEE


                                                           /s/ Natalie F. Wilson
                                                           NATALIE F. WILSON




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